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Case 4:25-cv-00238-O Document5- Filed 03/28/25  Pageliofi PagelD 50

UNITED STATES DISTRICT COURT
for the

NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

JAMES LOGAN, SR., on behalf of himself
and all others similarly situated,

§

§

§

Plaintiff(s), §

v. § Civil Action No. 4:25-cv-00238-O

§

§

§

§

UNITED STATES RAILROAD
RETIREMENT BOARD,

Defendant(s). §

RETURN OF SERVICE

Came to my hand on Thursday, March 20, 2025 at 10:16 AM,
Executed at: 844 NORTH RUSH STREET, CHICAGO, IL 60611
at 12:40 PM, on Friday, March 21, 2025,

by delivering to the within named:

UNITED STATES RAILROAD RETIREMENT BOARD
by personally delivering to General Counsel, ANA KOCUR
a true copy of this

SUMMON IN A CIVIL ACTION, COMPLAINT — CLASS ACTION, EXHIBIT A,
CIVIL COVER SHEET and NOTICE AND ELECTION REGARDING CONSENT
TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE

BEFORE ME, the undersigned authority, on this day personally appeared KYLE CLUTTER who after being duly swom
on oath states: "My name is KYLE CLUTTER. I am a person not less than eighteen (18) years of age and I am competent
to make this oath. I am a resident of the State of Illinois. | have personal knowledge of the facts and statements contained
herein and aver that each is true and correct, am not a party to nor related or affiliated with any party to this suit. | have
no interest in the ome_of t it, e never been convicted of a felony or of a misdemeanor involving moral
turpitude.

By: ;
KYLECLUTTER - Process Server

Subscribed and Sworn to by KYLE CLUTTER, Before Me, the undersigned authority, on this

i day of March, 2025. Le

Notary Public in and for the State of Illinois

Official Seal
SIMONE AVAK
Notary Public, State of Illinois
Commission No. 659910
@ My Commission Expires November 4, 2028
